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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                      Case No.
      Plaintiffs,
                                                                   0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


         PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE NO. 4
         TO PRECLUDE PLAINTIFFS FROM OFFERING EVIDENCE OF DAMAGES
                ALLEGEDLY INCURRED BY ENTITIES OTHER THAN
                PLAINTIFFS XBT HOLDING S.A. AND WEBZILLA, INC.

           Defendants Motion in Limine No. 4 to Preclude Plaintiffs from Offering Evidence of
   Damages Allegedly Incurred by Entities Other than Plaintiff XBT Holding S.A. and Webzilla,
   Inc. (the “Motion”) is based on a plain misstatement of facts and misapplication of law.
   Specifically, Defendants seek to exclude from trial evidence regarding XBT Holding S.A. and
   Webzilla, Inc’s damages by falsely claiming that those damages belong to other entities. That is
   just not true.
           Yet again, it is particularly important to highlight the precise words used in the December
   Memo that are the basis for the present action:
           [Redacted] reported that over the period March-September 2016 a company called
           XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit
           viruses, plant bugs, steal data and conduct “altering operations” against the
           Democratic Party leadership.
           And yet, after spending hundreds of pages arguing to this Court about third-party
   customers of subsidiaries and sister-companies of XBT and Webzilla, Defendants, in the Motion,
   finally remember that they defamed XBT and Webzilla – and not others – by specifically naming
   Plaintiffs as themselves hacking the Democratic Party leadership. While Plaintiffs agree that this
   case must center around the allegations made against Mr. Gubarev, XBT and Webzilla, and not
                                                     1
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   around unverifiable and anonymous hearsay about irrelevant third-parties dug up by Defendants’
   investigative team with an unlimited budget, that is the end of Plaintiffs’ agreement with
   anything in the Motion.
   A.     The Damages Plaintiffs Seek Are Damages Suffered by Plaintiffs and Not Others
          XBT is a holding company with multiple businesses under its umbrella and the damages
   it has sustained as a holding company are the damage to its value. Specifically, Plaintiffs’ expert
   witness, Mr. Jeffrey Anderson, performed valuations of XBT itself both before the publication of
   the December Memo and after publication of the December Memo. See, Supplemental Expert
   Report, Exhibit 1 hereto, p. 2 (“CONSOR was asked to analyze and provide an opinion on the
   damages stemming from the Defendants publication of an online article.... Our analysis
   included: the lost business value of XBT.”). At no point in this analysis does Mr. Anderson
   calculate damages to any XBT subsidiary, but, instead, Mr. Anderson was tasked with and
   provided an opinion based on the value of XBT itself. And, of course, part of XBT’s value as a
   business is made up of its subsidiaries, but that does not mean the damage that XBT itself
   suffered to its own value is the damages of its subsidiaries. The damages are the damages to
   XBT’s value – the very same XBT that Defendants defamed.
          Accordingly, contrary to the assertions of Defendants, Plaintiffs are not “seek[ing]
   damages incurred by subsidiaries.” Motion, p. 3. Plaintiffs are seeking damages to the loss of
   business value suffered by them themselves.
          Defendants’ Motion, particularly in context with its Motion in Limine No. 7,1 stands for
   the proposition, at the end of the day, that a holding company is not entitled to damages when it
   is defamed. This obviously cannot be true.2


   1
     That motion argues, incorrectly, that XBT is not even entitled to seek lost business value
   damages. Taking both that Motion and this Motion in together though, Defendants have crafted a
   Catch-22. They claim that XBT cannot seek lost business value as a form of damages and then
   argue that XBT cannot seek any other form of damages because it is a holding company.
   2
     Taking Defendants’ Motion to its logical conclusion, XBT would only be allowed to seek
   damages for defamation to it personally if Defendants had also named every other subsidiary of
   XBT in line with XBT and Webzilla. In which case, the December Memo would have had to
   have said:
           Over     the    period     March-September       2016      a    company       called
           XBT/Webzilla/Servers.com/Edinaya Set/Root/1GB.com/Dedicated Servers/DFW
           Internet Services/Fozzy/IP Transit/TM Web Properties/Travail Systems/Universal
           CDN/URL Solutions/iMarketing Solutions/ITPan.com used botnets and porn
                                                    2
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          For example, if John Doe maliciously spread lies that Warren Buffet, the Chairman and
   Chief Executive of Berkshire Hathaway, 3 murdered a family of kitten as part of a satanic ritual
   he regularly held in the offices of Berkshire Hathaway, it would strain the imagination to say that
   Berkshire Hathaway could not seek damages to its business (even if all of its business was
   through un-named subsidiaries).
          Because Defendants have misrepresented the damages sought by Plaintiffs, none of the
   case law they cite is relevant or availing. As it was Plaintiffs that were defamed by Defendants
   and Plaintiffs that were themselves damaged by those defamatory statements, Plaintiffs are not
   asserting any claim on behalf of any of XBT’s other subsidiaries. 4 Accordingly, every single
   case cited by Defendants on page 4 of their Motion is irrelevant.
          One cited case however, given the edit in the citation by Defendants, requires special
   attention. Specifically, Defendants cite Mobius Risk Grp. LLC v. Global Clean Energy
   Holdings, Inc., 2011 WL 3568074, at *5 (S.D. Tex. Aug. 15, 2011) for the proposition that
   “Courts that have addressed [whether or when a parent company may recover damages incurred
   by its subsidiaries] have consistently held that a parent may not do so.” (Modification in Motion
   itself, p. 4). Mobius Risk Group is very easily distinguished from this case. In Mobius Risk
   Group, the plaintiff sought damages of costs incurred in purchasing certain tracts of land.
   However, the land was purchased entirely by partially-owned subsidiaries of the plaintiff and,
   accordingly, the damage was actually suffered by the subsidiaries of the plaintiff – not the
   plaintiff. The plaintiff parent corporation did not even make payments to the subsidiaries for
   their purchase of the land, but instead the subsidiaries executed promissory notes to obtain the
   purchase money.
          This case is inapposite. Here, XBT is seeking damages to its own business value – not
   any damages suffered by any subsidiaries other than Webzilla. However, Defendants have
   incorrectly claimed to this Court that Plaintiffs are doing otherwise in an attempt to exclude



          traffic to transmit viruses, plant bugs, steal data and conduct “altering operations”
          against the Democratic Party leadership.
   3
     One of the world’s most famous holding companies, with distinct and in-their-own-right
   famous subsidiaries like GEICO, Dairy Queen, and Fruit of the Loom.
   4
     And to be sure, if the other subsidiaries had brought any claims against Defendants, Defendants
   would have tacked left and claimed that those subsidiaries cannot bring a cause of action because
   they were not named in the Dossier. Yet another Catch-22 crafted by Defendants.
                                                    3
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   Plaintiffs’ damages from ever being presented to the jury. Because Defendants are wrong on
   both the facts and the law, their Motion should be denied.
   B.     Apportionment of Damages
          Defendants also note in their Motion that Plaintiffs have not apportioned damages
   between BuzzFeed and Steele. It is not clear how this is relevant to Defendants’ incorrect claim
   about damages to subsidiaries, but Plaintiff will take a brief moment to respond to this matter
   anyway. It is black letter law that both the author and the publisher of a defamatory piece may
   be held liable for the defamation contained therein. See Restatement (Second) of Torts § 578
   (“Except as to those who only deliver or transmit defamation published by a third person, one
   who repeats or otherwise republishes defamatory matter is subject to liability as if he had
   originally published it.”). BuzzFeed and Steele are accordingly both liable for the damages that
   Plaintiffs suffered from the publication of the December Memo. To the extent that Defendants
   wanted to apportion some of the damages to Steele, Defendants could have brought a cause of
   action against Steele for indemnification or contribution. They have not done so and therefore
   their arguments are irrelevant (certainly to the issue set forth in their Motion).
                                                Conclusion
          For the reasons stated hereinabove, Defendants’ Motion in Limine No. 4 to Preclude
   Plaintiffs from Offering Evidence of Damages Allegedly Incurred by Entities Other than Plaintiff
   XBT Holding S.A. and Webzilla, Inc. should be denied in its entirety.




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   Dated: November 13, 2018

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